       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Riverside Reginal Jail Authority and
         VML Insurance Program
       v. Morrisa Dugger
       Record No. 0153-17-2
       Opinion rendered by Judge Humphreys on
        July 25, 2017

    2. Janine Helen Adam Browning
        v. Larry Grant Browning
        Record No. 2012-16-3
        Opinion rendered by Judge Russell on
        July 25, 2017
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Deborah MacDougall
   v. Richard S. Levick
   Record No. 1981-14-4
   Richard S. Levick
   v. Deborah MacDougall
   Record No. 1982-14-4
   Opinion rendered by Judge McCullough
    on February 23, 2016
   Judgment of Court of Appeals reversed and matter remanded to this Court for remand
     to the trial court for further proceedings by opinion rendered on November 2, 2017
   (160540 and 160551)

2. Gregory Edward Leonard, II
   v. Commonwealth of Virginia
   Record No. 0135-15-1
   Opinion rendered by Judge Russell
    on April 26, 2016
   Judgment of Court of Appeals reversed and final judgment entered reinstating
    appellant’s conviction of DUI, third or subsequent offense within five years by
    opinion rendered on October 19, 2017 (160952)

3. Cynthia Leatrice Porter
   v. Commonwealth of Virginia
   Record No. 0738-15-3
   Opinion rendered by Judge Petty
    on May 3, 2016
   Refused (161727)

4. Cedric Detavius Sandidge
   v. Commonwealth of Virginia
   Record No. 1851-15-3
   Opinion rendered by Judge AtLee
    on December 20, 2016
   Refused (170104)

5. Thomas Synan, II
   v. Commonwealth of Virginia
   Record No. 0795-15-2
   Opinion rendered by Judge Alston
    on January 24, 2017
   Refused (170253)
6. Sheng Jie Jin
   v. Commonwealth of Virginia
   Record No. 0457-16-2
   Opinion rendered by Judge Petty
     on February 14, 2017
   Refused (170363)

7. Amanda Barbara Nichole Taylor
   v. Commonwealth of Virginia
   Record No. 0543-16-3
   Opinion rendered by Judge Petty
    on March 14, 2017
   Refused (170465)

8. Crystal Ann Coomer
   v. Commonwealth of Virginia
   Record No. 1017-16-3
   Opinion rendered by Judge Humphreys
    on April 4, 2017
   Refused (170603)
       The Supreme Court issued an opinion in the following case, which had been appealed from
this Court

    1. Kimberlee Dietz
       v. Commonwealth of Virginia
       Record No. 0861-15-1
       Memorandum opinion rendered by Senior Judge Felton on May 3, 2016
       Judgment of Court of Appeals affirmed by opinion rendered on
        September 7, 2017
       (160857)
